












               



In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00133-CR

____________


JOSE BALLEJOS aka JOSE ANDELINO, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 344th District Court

Chambers County, Texas

Trial Court Cause No. 12156 






MEMORANDUM  OPINION

	Appellant pleaded guilty to possession of cocaine weighing 200 grams or
more, but less than 400 grams.  In accordance with a plea bargain agreement with the
State, the trial court sentenced appellant to confinement for 12 years. Appellant filed
timely notice of appeal.  We dismiss for lack of jurisdiction.

	Newly-amended Rule 25.2(a) of the Texas Rules of Appellate Procedure
provides, in pertinent part:

	In a plea bargain case -- that is, a case in which a defendant's
plea was guilty or nolo contendere and the punishment did not
exceed the punishment recommended by the prosecutor and
agreed to by the defendant -- a defendant may appeal only:


	(A)	those matters that were raised by written motion filed and
ruled on before trial, or


	(B)	after getting the trial court's permission to appeal.


Tex. R. App. P. 25.2(a)(2).

	The trial court's certification of defendant's right of appeal states that this
"is a plea-bargain case, and the defendant has NO right of appeal."  

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Higley.

Do not publish.   Tex. R. App. P. 47.2(b).


